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                  EXHIBIT H
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  From:           Russell Godfrey
  To:             Bridger Jensen
  Cc:             Tanner J Bean
  Subject:        Re: DOPL Investigation 155999
  Date:           Tuesday, November 19, 2024 12:26:04 PM


  Mr. Jensen and Mr. Bean,

  I spoke with my supervisor about closing this case and it was decided this complaint would be
  closed as "unfounded". This means DOPL is not taking any action and closing this complaint
  out with no further action taken at this time. I want to thank you for your cooperation in this
  matter and wish you all the best in the future. If you have any questions, please let me know.  

  Thanks,

  Russ Godfrey

  Russ Godfrey | Investigator

  Email: rgodfrey@utah.gov
  Cell: 385-622-1583 | Fax: 801-530-6301
  Heber M. Wells Bldg.
  160 E 300 S
  Salt Lake City, UT 84114

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  this message. Also, please delete the original message. Thank you.


  On Tue, Nov 12, 2024 at 9:56 AM Bridger Jensen <bridgerjensen@gmail.com> wrote:
   Please see attached.

    I wish to also express that I am in full compliance with the law, and that I am
    absolutely willing to speak openly with you and even have you come for a tour anytime. :)
    Just let me know.

    Thank you,

    Bridger Jensen



    On Mon, Nov 11, 2024 at 12:44 AM Bridger Jensen <bridgerjensen@gmail.com> wrote:
     Russ-

      I have prepared a statement for you and I will send it by the end of the business day
      Monday. I got delayed a little bit over the weekend.
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     Thank you for your patience and know that I fully intend to comply with your
     investigation. After you’ve received the statement, I am open to speak in person or on the
     phone at your request.


     Thank you,

     Bridger Jensen
     Utah Psychedelic Therapy, Founder


     On Wed, Oct 30, 2024 at 1:17 PM Russell Godfrey <rgodfrey@utah.gov> wrote:
      Mr. Jensen,

       My name is Russ Godfrey and I am an investigator with the Division of Professional
       Licensing (DOPL). I have been assigned to follow up on a complaint made to our
       Division regarding Singularism and your State-issued license. The complaint stated you
       were practicing therapy without a license (your State-issued license expired in 2019) and
       the business license was about to expire (which it did at the end of September 2024). I
       want you to write me a statement responding to this complaint. I would like you to
       address your role at Singularism and what function(s) you perform for the company.
       Can you also address the reason the company license has expired, yet your website still
       shows active with an address in Provo, Utah. Once I get your statement I would like to
       follow up with you either in person or over the phone if necessary.  

       Thank you and I look forward to hearing from you,

       Russ Godfrey

       Russ Godfrey | Investigator

       Email: rgodfrey@utah.gov
       Cell: 385-622-1583 | Fax: 801-530-6301
       Heber M. Wells Bldg.
       160 E 300 S
       Salt Lake City, UT 84114

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                                                                            Tanner J. Bean
                                                                                   Attorney
                                                                                    FCH
                                                                         Tel. 801-323-2266
                                                                   tbean@fabianvancott.com


                                   November 11, 2024

 VIA EMAIL

 Division of Professional Licensing
 State of Utah Department of Commerce
 Attn: Russell Godfrey
 P.O. Box 146741
 Salt Lake City, UT 84114-6741
 rgodfrey@utah.gov

              Re: Clarification of Religious Exemption – Bridger Lee Jensen

       Mr. Godfrey,

        I am writing on behalf of my client, Bridger Lee Jensen, regarding the recent
 inquiry from the Division of Professional Licensing regarding his organization,
 Singularism, and his religious work in the state of Utah.

         As you are aware, Utah’s Mental Health Professional Practice Act governs the
 licensure and practices of individuals engaging in the practice of mental health
 therapy. Utah Code § 58-60-101 et seq. Although generally an individual must be
 licensed to engage in the practice of mental health therapy, Utah Code § 58-60-107
 includes a list of individuals who are exempted from licensure. Relevant here, this list
 includes “a recognized member of the clergy while functioning in a ministerial capacity
 as long as the member of the clergy does not represent that the member of the clergy
 is, or use the title of, a license classification in Subsection 58-60-102(5).” Utah Code §
 58-60-107(2)(b) (due to a clerical error in the statute, the reference should be to
 subsection 58-60-102(15), not 58-60-102(5)).

       As further attested to in Mr. Jensen’s declaration attached hereto, Mr. Jensen
 was previously licensed as a therapist in the state of Utah, but he voluntarily
 surrendered his licensure to pursue his sincere religious beliefs associated with
 Singularism. We have worked at great length with Mr. Jensen to ensure that he
 understands the religious exemptions provided to him under state and federal law,
 and he has exerted substantial effort to ensure his compliance with and transparency
 regarding such exemptions.

        We understand the unique nature of our client’s religious practices as a minority
 religion in the state of Utah, and we appreciate the Division of Professional Licensing’s
 efforts to ensure that individuals are complying with Utah law. Based on the statutes
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 above and Mr. Jensen’s declaration attached hereto, we respectfully request the
 Division recognize Mr. Jensen’s religious exemption and conclude its investigation.

        Please do not hesitate to contact me at the phone number or email set forth
 above if you need any further information or clarification regarding my client’s activities
 or to ensure compliance with Utah’s professional practice standards.



                                           Sincerely,




                                           Tanner J. Bean
                                           FABIAN VANCOTT
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                        DECLARATION OF BRIDGER LEE JENSEN

        I, Bridger Lee Jensen, declare and state as follows:

 Regarding the allegation of practicing therapy without a license:

        1.      I was previously licensed as a mental health professional in the state of Utah.

        2.      I no longer practice under that licensure, having voluntarily surrendered such

 licensure in 2019 in order to pursue my sincerely held religious beliefs associated with a religious

 organization known as Singularism.

        3.      Singularism is a contemporary religion of which I am the founder.

        4.      As explained on Singularism’s website, singularism.org, Singularism “provide[s] a

 sacred space where science and spirituality united, offering a holistic path to healing, growth, and

 self-discovery. Through this unique synergy, [Singularism] guides individuals toward profound

 insights, authentic connections, and lasting change.”

        5.       At “the heart of [Singularism’s] spiritual practice lies the sacred tradition of

 Entheogenic Spiritual Guidance. [Singularism] integrate[s] the profound potency of psilocybin, a

 revered entheogenic substance with long standing religious use into our own ceremonies as a

 means to facilitate deep spiritual connections and foster profound inner spiritual transformation.

 [Singularism’s] ceremonies are performed safely, sincerely religious, and crucial for producing the

 effective results from which our members reap invaluable benefits.”

        6.      My current activities related to Singularism are strictly religious in nature. I provide

 services that are limited to guided psilocybin sessions and spiritual exploration, all of which are

 grounded in the belief that psilocybin is a sacred sacrament that can serve as a conduit to profound

 spiritual experiences, informed by the tenets and sacred tradition of Entheogenic Spiritual
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 Guidance. These services are intended solely for the spiritual and religious guidance of individuals

 and are delivered within a religious framework.

        7.         I understand that Utah Code § 58-60-107(2)(b) provides an exemption from

 licensure requirements for individuals who offer counseling or guidance in a religious context. It

 states, “In addition to the exemptions from licensure in Section 58-1-307, the following may

 engage in acts included within the definition of practice as a mental health therapist, subject to the

 stated circumstances and limitations, without being licensed . . . (b) a recognized member of the

 clergy while functioning in a ministerial capacity as long as the member of the clergy does not

 represent that the member of the clergy is, or use the title of, a license classification in Subsection

 58-60-102(5).”

        8.         In accordance with this law, I go to great lengths not represent myself as a license

 classification from Subsection 58-60-102(5). I have taken extensive steps to comply with the

 religious exemption from licensure, including:

             a. Contacting the Division of Professional Licensing in 2022 to confirm my

 understanding of the legal exemptions. At this time, I spoke and emailed with Julie Pulsipher, a

 Division Board Secretary, seeking guidance on the Mental Health Professional Practice Act.

             b. Clarifying in consultations, webinars, and conversations that I am not operating

 under a license.

             c. Engaging legal counsel to ensure my interpretation of Utah law was and continues

 to be accurate.

             d. Requiring participants to sign a waiver before participating in our spiritual guidance

 in which they explicitly acknowledge that:
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                      i. Singularism’s use of psychedelics is intended solely for religious and

 spiritual reasons, not recreational or non-religious purposes.

                     ii. Singularism operates without clinical licensure, and to the extent that any

 facilitators of Singularism’s practices hold licenses or other professional credentials, those licenses

 and professional credentials are unrelated to the facilitator’s work with Singularism.

         9.       I hold a sincere belief in Singularism and its practices. I founded Singularism as a

 legitimate, sincerely practiced religion, with a clear mission centered around mental wellness in a

 religious and spiritual context.

         10.      I have taken extensive measures to adhere to the legal and religious exemption

 requirements by refraining from presenting myself as a licensed professional and by refraining

 from referring to myself by any of the titles listed in Utah Code § 58-60-109(1)(c) or § 58-60-

 102(15) (due to a clerical error, although the statute for religious exemption from licensure in Utah

 Code § 58-60-107(2)(b) references Subsection 58-60-102(5), the reference should be to Subsection

 58-60-102(15)).

         11.      I have committed to being transparent about Singularism’s religious practices and

 my involvement in those practices, both with the public, individual participants, and government

 entities.

         12.      I reserve all rights and privileges afforded by this exemption. I intend to follow the

 law dutifully.

 Regarding the allegation of operating a business without a license:

         13.      Due to moving this year, and due to some unforeseen complications with our

 businesses mailboxes, much of my business mail has been mailed to the wrong address and then

 returned. Included in this was the notice reminders to update our business registration. As a result,
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 I had an expired license for approximately a month. I updated said registration on Oct, 31st 2024,

 as soon as it came to my attention, and it is currently active.



        I declare under criminal penalty under the laws of the State of Utah that the foregoing is

 true and correct.




    EXECUTED on the 11th day of November, 2024




                Bridger Lee Jensen, Founder of Singularism and Psychedelic Therapy Journey
